     Case 2:18-cv-05741-DMG-PLA Document 51 Filed 08/17/18 Page 1 of 4 Page ID #:2242




 1     CHAD A READLER
       Acting Assistant Attorney General
 2     Civil Division
       ERNESTO H. MOLINA, JR.
 3     Deputy Director
       BRIENA L. STRIPPOLI
 4     Senior Litigation Counsel
       BENJAMIN MARK MOSS
 5     Trial Attorney
       MARINA STEVENSON
 6     Trial Attorney
       ANDREW B. INSENGA
 7     Trial Attorney
       Office of Immigration Litigation
 8     U.S. Department of Justice - Civil Division
              P.O. Box 878
 9            Ben Franklin Station
              Washington, DC 20044
10            Phone: (202) 305-7816
              Fax: (202) 616-4950
11            andrew.insenga@usdoj.gov
       Attorneys for DEFENDANTS
12
                          UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                           ) Case No.: 2-18-CV-05741
       LUCAS R., et al.,                     )
15     Plaintiffs,                           ) NOTICE OF MOTION TO DISMISS,
                                             ) AND   OPPOSITION TO CLASS
                                               CERTIFICATION
16            vs.                            )
                                             ) Hearing on Motion to Dismiss and Class
17     ALEX AZAR, Secretary of U.S. Dep’t of ) Certification:
       Health and Human Services, et al.,    ) September 14, 2018
18     Defendants                            )
                                             ) Honorable Judge Dolly Gee
19                                           )

20


                                  NOTICE OF MOTION TO DISMISS
                     AND OPPOSITION TO THE MOTION FOR CLASS CERTIFICATION - 1
     Case 2:18-cv-05741-DMG-PLA Document 51 Filed 08/17/18 Page 2 of 4 Page ID #:2243




 1     To Plaintiffs and their attorneys of record:

 2           Please take notice that on September 14, 2018, at 9:30 a.m., or as soon

 3     thereafter as counsel may be heard, Defendants will and do hereby move the Court,

 4     pursuant to Federal Rules of Civil Procedure 12(b)(3) and (b)(6), to dismiss this

 5     action for improper venue and/or as duplicative of preexisting litigation. As a

 6     hearing is already scheduled on that date to address Plaintiffs’ pending motion for

 7     class certification, Defendants will and do hereby oppose that pending motion.

 8           This motion is based upon the accompanying memorandum of law and all

 9     other matters of record.

10           This motion is made following the conference of counsel pursuant to Local

11     Rule 7-3, which took place on August 16, 2018. At that time, Plaintiffs indicated

12     that they will oppose the motion to dismiss.

13

14

15

16

17

18

19

20


                                  NOTICE OF MOTION TO DISMISS
                     AND OPPOSITION TO THE MOTION FOR CLASS CERTIFICATION - 2
     Case 2:18-cv-05741-DMG-PLA Document 51 Filed 08/17/18 Page 3 of 4 Page ID #:2244




 1                                                 CHAD A READLER
                                                   Acting Assistant Attorney General
 2                                                 Civil Division
                                                   ERNESTO H. MOLINA, JR.
 3                                                 Deputy Director
                                                   BRIENA L. STRIPPOLI
 4                                                 Senior Litigation Counsel
                                                   BENJAMIN MARK MOSS
 5                                                 Trial Attorney
                                                   MARINA STEVENSON
 6                                                 Trial Attorney

 7                                                    /s/ Andrew B. Insenga
                                                   ANDREW B. INSENGA
 8                                                 Trial Attorney
                                                   Office of Immigration Litigation
 9                                                 Civil Division
                                                   U.S. Department of Justice
10                                                 P.O. Box 878
                                                   Ben Franklin Station
11                                                 Washington, DC 20044
                                                   Phone: (202) 305-7816
12                                                 Fax: (202) 616-4950
                                                   andrew.insenga@usdoj.gov
13                                                 Attorneys for DEFENDANTS

14

15

16

17

18

19

20


                                 NOTICE OF MOTION TO DISMISS
                    AND OPPOSITION TO THE MOTION FOR CLASS CERTIFICATION - 3
     Case 2:18-cv-05741-DMG-PLA Document 51 Filed 08/17/18 Page 4 of 4 Page ID #:2245




 1                              CERTIFICATE OF SERVICE
             I certify that, on August 17, 2018, I caused the foregoing documents to be
 2
       filed via the CM/ECF system, which caused a copy to be served on Plaintiffs’
 3
       counsel of record.
 4

 5                                                  CHAD A READLER
                                                    Acting Assistant Attorney General
 6                                                  Civil Division
                                                    ERNESTO H. MOLINA, JR.
 7                                                  Deputy Director
                                                    BRIENA L. STRIPPOLI
 8                                                  Senior Litigation Counsel
                                                    BENJAMIN MARK MOSS
 9                                                  Trial Attorney
                                                    MARINA STEVENSON
10                                                  Trial Attorney

11                                                     /s/ Andrew B. Insenga
                                                    ANDREW B. INSENGA
12                                                  Trial Attorney
                                                    Office of Immigration Litigation
13                                                  Civil Division
                                                    U.S. Department of Justice
14                                                  P.O. Box 878
                                                    Ben Franklin Station
15                                                  Washington, DC 20044
                                                    Phone: (202) 305-7816
16                                                  Fax: (202) 616-4950
                                                    andrew.insenga@usdoj.gov
17                                                  Attorneys for DEFENDANTS

18

19

20


                                  NOTICE OF MOTION TO DISMISS
                     AND OPPOSITION TO THE MOTION FOR CLASS CERTIFICATION - 4
